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                                      #:19504



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                                 UNITED STATES DISTRICT COURT
14
                        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
15

16       JENNY LISETTE FLORES, et al.,               ) Case No. CV 85-4544 DMG (AGRx) 
17                                                   )
                  Plaintiffs,                        ) ORDER GRANTING LEAVE TO FILE
18       - vs -                                      ) DECLARATIONS AND CORRECTED
19                                                   ) MEMORANDA IDENTIFYING ASYLUM
         JEFFERSON B. SESSIONS, Attorney             ) APPLICANTS UNDER SEAL
20       General of the United States, et al.,       )
21                                                   ) [PROPOSED]
                  Defendants.                        )
22                                               _   )
23                                                     [HON. DOLLY M. GEE]

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     Case 2:85-cv-04544-DMG-AGR Document 459-14 Filed 07/16/18 Page 2 of 4 Page ID
                                      #:19505

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1             Pursuant to the Plaintiffs’ applications for leave to file declarations of
2       asylum-seekers and corrected memoranda identifying such asylum-seekers under
3
        seal, and good cause appearing therefor, it is hereby Ordered as follows:
4

5             1. Plaintiffs are granted leave to file in the public record Plaintiffs’
6
        Corrected Response to Defendants’ Third Juvenile Coordinator Reports
7
        identifying such asylum seekers with identifying information redacted so as to
8

9       protect the identities of applicants for asylum. Pursuant to 8 C.F.R. §§208.6 and
10
        1208.6 the identities of asylum applicants are confidential.
11
              2. Plaintiffs shall comply with all current Local Civil Rules regarding the filing
12

13      of documents under seal.
14
              IT IS SO ORDERED.
15

16
        Dated: _________________, 2018.                  _______________________
17                                                       Dolly M. Gee
                                                         United States District Judge
18

19
              Presented by —
20
21            /s/Peter Schey
              Peter A. Schey
22
              Class Counsel for Plaintiffs
23

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              ///
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                                      #:19507

1                                      CERTIFICATE OF SERVICE
2             I, Peter Schey, declare and say as follows:
3
              I am over the age of eighteen years of age and am a party to this action. I am
4

5       employed in the County of Los Angeles, State of California. My business address is
6
        256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.  
7

8             On July 16, 2018 I electronically filed the following document(s):

9       ORDER GRANTING LEAVE TO FILE CORRECTED MEMORANDA AND DECLARATIONS
10
        IDENTIFYING ASYLUM APPLICANTS UNDER SEAL [PROPOSED] with         the United States
11

12      District Court, Central District of California by using the CM/ECF system. Participants

13      in the case who are registered CM/ECF users will be served by the CM/ECF system.
14

15

16                                                  /s/Peter Schey
                                                    Attorney for Plaintiffs
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